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 6
   Attorneys for Plaintiff, Peter Engilis
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 8                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
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   IN RE: ROUNDUP PRODUCTS                                    MDL No: 2741
11 LIABILITY LITIGATION
   _______________________________________                    Case No.: 3:19-cv-07859-VC
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   Peter Engilis, Jr., et al.,                                DECLARATION OF JEFFREY L.
13
                                                              HABERMAN IN SUPPORT OF PLAINTIFFS’
             Plaintiff,
14                                                            RESPONSE IN OPPOSITION TO
   vs.                                                        DEFENDANT’S MOTION FOR SUMMARY
15                                                            JUDGMENT
   Monsanto Company.,
16                                                            Hearing date: January 12, 2023
             Defendant.                                       Time: 10:00 a.m.
17

18 Individual Case No.: 3:19-cv-07859-VC

19
            I, Jeffrey Haberman, declare as follows:
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            1.        I am an attorney duly licensed to practice law in the state of Florida. I am an attorney
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     at the law firm of Schlesinger Law Offices, P.A. I submit this declaration in support of Plaintiffs’
22

23 Response in Opposition to Defendant’s Motion for Summary Judgment. I have personal knowledge

24 of the matters stated below, and if called upon to do so, I could and would competently testify as

25 stated therein.

26
            2.        Attached as Exhibit A is a true and correct copy of the Plaintiff Fact Sheet of Plaintiff
27
     Peter Engilis.
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                                                          1
             DECARLATION OF JEFFREY L. HABERMAN IN SUPPORT OF PLAINTIFFS’ RESPONSE IN
                   OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
       Case 3:16-md-02741-VC Document 15973-1 Filed 12/14/22 Page 2 of 3




 1           3.    Attached as Exhibit B is a true and correct copy of the deposition transcript of Plaintiff

 2 Peter Engilis taken in this case on November 2, 2021.

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             4.    Attached as Exhibit C is a true and correct copy of the Environmental Protection
 4
     Agency’s (“EPA”) Summary of the IBT Review Program, Office of Pesticide Programs, dated July
 5
     1983.
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             5.    Attached as Exhibit D is a true and correct copy of the Summary of the EPA’s February
 7

 8 21, 1985 Meeting Minutes as recorded by Monsanto employee Lyle L. Gingerich.

 9           6.    Attached as Exhibit E is a true and correct copy of the Expert Report of Plaintiff expert,
10 Charles Benbrook, Ph.D.

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             7.    Attached as Exhibit F is a true and correct copy of a Monsanto internal document titled
12
     “Glyphosate Mouse Study Additional Steps” dated August 28, 1985.
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             8.    Attached as Exhibit G is a true and correct copy of the March 16, 2017 EPA SAP Panel
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15 Report Memorandum.

16           9.    Attached as Exhibit H is a true and correct copy of a Memorandum written by Dr.

17 James Parry to Monsanto dated February 11, 1999.

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             10.   Attached as Exhibit I is a true and correct copy of a Monsanto internal email dated
19
     September 2, 1999 from Alan Wilson to Donna Farmer titled “Comments on Parry Write-up.”
20
             11.   Attached as Exhibit J is a true and correct copy of the a Monsanto internal email dated
21
     September 16, 1999 from William Heydens to Donna Farmer titled “Parry Report.”
22

23           12.   Attached as Exhibit K is a true and correct copy of the deposition testimony (in clip

24 report formatting) of Monsanto corporate witness, Mark Martens, dated April 7, 2017.

25           13.   Attached as Exhibit L is a true and correct copy of a Monsanto internal email dated
26
     September 21, 2009 from Donna Farmer to John Combest titled, “Roundup article in Fremantle
27
     Herald.”
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                                                       2
             DECARLATION OF JEFFREY L. HABERMAN IN SUPPORT OF PLAINTIFFS’ RESPONSE IN
                   OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
       Case 3:16-md-02741-VC Document 15973-1 Filed 12/14/22 Page 3 of 3




 1          14.    Attached as Exhibit M is a true and correct copy of a Monsanto Manuscript Clearance

 2 Form dated February 29, 2012.

 3
            15.    Attached as Exhibit N is a true and correct copy of a Monsanto internal email dated
 4
     April 28, 2015 from William Heydens to Daniel Jenkins, titled “Glyphosate IARC Question.”
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 6
        I declare under penalty of perjury that the foregoing is true and correct, and that this declaration
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 8 was executed on December 14, 2022 in Fort Lauderdale, Florida.

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10                                                ________________________________
11                                                 Jeffrey L. Haberman

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            DECARLATION OF JEFFREY L. HABERMAN IN SUPPORT OF PLAINTIFFS’ RESPONSE IN
                  OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
